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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-00450-JRG
                                    §
      vs.                           §              LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §              Case No: 2:16-cv-00451-JRG
                                    §
      vs.                           §              CONSOLIDATED CASE
                                    §
TEXAS BANK AND TRUST COMPANY §
                                    §
      Defendant.                    §
___________________________________ §

                                          ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Texas Bank And Trust
Company. It is therefore ORDERED that all claims by and between parties DISMISSED WITH
PREJUDICE, with each party to bear its own costs, expenses and attorneys’ fees.

       SO ORDERED and signed this 9th day of September, 2016.




                                                                       _________________________
                                                                       Rodney Gilstrap
                                                                       United States District Judge
